                                       
                                       
                               COURT OF APPEALS
                            TENTH DISTRICT OF TEXAS
                                center10985500
                                October 5, 2016
                              No. 10-15-00409-CR
                             JOSHUA MARQUES WILLIS
                                       
                                      v.
                                       
                              THE STATE OF TEXAS
                                       
                                center-4254500
                        From the 19[th] District Court
                            McLennan County, Texas
                         Trial Court No. 2012-1058-C1
                                       
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JUDGMENT

	This proceeding has been considered by the Court.  It is the judgment of this Court that the trial court's Judgment of Conviction by Jury signed on November 12, 2015 is affirmed.  
	A copy of this judgment will be certified by the Clerk of this Court and delivered to the trial court clerk for enforcement.
							PER CURIAM
						SHARRI ROESSLER, CLERK			
3040380-1206500
			By: ___________________________
				Nita Whitener, Deputy Clerk
1006779787783800
